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                     UNITED STATES DISTRICT COURT
                         DISTRICT OF COLUMBIA


 COMMUNICATIONS WORKERS OF                           Civ. No. _____________
 AMERICA, AFL-CIO,

                      Plaintiff,

        v.

 AT & T INC.,

                      Defendant.




                  COMPLAINT TO COMPEL ARBITRATION

      Plaintiff COMMUNICATIONS WORKERS OF AMERICA, AFL-CIO

(“CWA” or “the Union”) hereby brings this Complaint to Compel Arbitration

against Defendant AT&T, INC. (“AT&T”) under Section 301(a) of the Labor

Management Relations Act (“LMRA”), 29 U.S.C. § 185(a), and the Federal

Arbitration Act, 9 U.S.C. § 4.

      In support of this petition, the Union alleges as follows:

      1.      This is a petition to compel arbitration in accordance with a

Memorandum of Agreement between the Union and AT&T executed on April 9,

2017 in effect through April 10, 2021.
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                                      PARTIES

      2.      Plaintiff CWA is a labor organization representing employees in

industries affecting commerce within the meaning of Section 2(5) of the Labor

Management Relations Act (“LMRA”), 29 U.S.C. §152(5). The Union maintains

headquarters in Washington, D.C.

      3.      Defendant AT&T, Inc. is a parent company acting for itself and as an

agent for its companies, divisions, subsidiaries and operating units. It and its

subsidiaries are employers within the meaning of Section 2(2) of the LMRA, 29

U.S.C. §152(2), headquartered in Dallas, Texas and doing business in this District.

                           JURISDICTION AND VENUE

      4.      This Court has jurisdiction pursuant to Section 301(a) of the LMRA,

29 U.S.C. §185(a) and the Federal Arbitration Act, 9 U.S.C. § 1 et seq., as AT&T,

Inc. and its affiliates do business in this District. AT&T agreed to designate

Arbitrator Richard I. Bloch, located in this District, to arbitrate disputes under the

parties’ Agreement.

      5.      Venue lies within this judicial district pursuant to Section 301(a) of

the LMRA, 29 U.S.C. §185(a). Plaintiff CWA is headquartered in this District, and

the Arbitrator designated by the parties is located in this District.
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                           GENERAL ALLEGATIONS

                                  The Agreement

      6.      The Union and AT&T are parties to a Memorandum of Agreement

Regarding Neutrality and Card Check Recognition (the “Neutrality Agreement” or

“Memorandum of Agreement”) governing union organizing procedures and union

support for regulatory and legislative measures relating to AT&T’s efforts to

remain competitive in, and/or gain entry to, telecommunications markets. This

Memorandum was recently renewed as of April 9, 2017 for a term through April

10, 2021. A true and correct copy of the Agreement is attached as Exhibit A

hereto.

      7.       The Memorandum of Agreement was entered into and signed by

AT&T, Inc. on behalf of “AT&T Inc. and all other present and future companies,

divisions, subsidiaries or operating units thereof, except AT&T of Puerto Rico,

Inc., AT&T of the Virgin Islands, Inc., AT&T Government Solutions, Inc., AT&T

Support Services Company, Inc., and AT&T Global Com. Services Inc.” Exhibit

A, Article 2(b).

      8.       The Union, through its President Christopher Shelton, approved the

agreement as binding on the CWA nationwide.

      9.       The Memorandum of Agreement has been attached and renewed to
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collective bargaining agreements between CWA Districts and AT&T subsidiaries,

including the 2017-2021 collective bargaining agreement between the Union and

Southwestern Bell Telephone Company, AT&T Services, Inc., and DIRECTV,

LLC (the “Southwest CBA.”) A true and correct copy of the 2017-2021 collective

bargaining agreement between the Union and Southwestern Bell Telephone

Company, AT&T Services, Inc., and DIRECTV, LLC is attached as Exhibit B

hereto.

      10.    While the remainder of the 2017-2021 collective bargaining

agreement between the Union and Southwestern Bell Telephone Company, AT&T

Services, Inc., and DIRECTV, LLC relates to those subsidiaries, the parties agreed

that “the Memorandum of Agreement – Regarding Neutrality and Card Check

Recognition, effective April 9, 2017 through April 10, 2021, as set forth in

ATTACHMENT I hereto” was entered on behalf of AT&T Inc. for all of its

“present and future companies, divisions, subsidiaries or operating units thereof,

except AT&T of Puerto Rico, Inc., AT&T of the Virgin Islands, Inc., AT&T

Government Solutions, Inc., AT&T Support Services Company, Inc., and AT&T

Global Com. Services Inc.” Exhibit B, Attachment I, p. 105.

      11.    Article 22, p. 22 of the Southwest Agreement provides: “Upon

ratification, the Card Check agreement will be administered on a national basis by
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the CWA and AT&T.”

      12.    CWA’s National President Christopher Shelton approved the

Memorandum of Agreement and the Southwest Agreement to which it was

attached in April 2017. The Union representative Claude Cummings, who signed

the Memorandum, did so on behalf of and with the authority of the National Union

and its President.

      13.    CWA and all of its subordinate Districts and locals, have been bound

by, and complied with, the Memorandum of Agreement at all relevant times.

                                 The Present Dispute

      14.    On or about June 14, 2018, AT&T successfully closed a merger with

Time Warner.

      15.    Pursuant to its obligations under the Memorandum of Agreement, the

Union affirmatively endorsed AT&T’s acquisition of Time Warner in regulatory

and legislative fora at all material times prior to the successful closure of the

merger.

      16.    A dispute has arisen between the parties over the composition of the

bargaining units subject to the Memorandum of Agreement as it relates to former

Time Warner employees. In particular, the Union and AT&T dispute which

classifications of former Time Warner employees should be included in what
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bargaining units for purposes of the Memorandum of Agreement. The Union

contends that AT&T’s Time Warner acquisition triggers the “non-management”

applicability provisions of Paragraph 2(c) and the unit-definition procedure of

Paragraph 3(c)(1), or in the alternative, that it constitutes an organizational change

that requires redefinition of the units under Paragraph 3(c)(2).

      17.     Paragraph 2(c) of the Memorandum of Agreement provides as

follows:

       As used herein, “non-management” means employees who normally
      perform work in non-management job titles as determined by the Company,
      in accordance with the statutory requirements of the National Labor
      Relations Act, as amended, and applicable decisions of the National Labor
      Relations Board and reviewing courts. If the Union disagrees with any such
      determination, the parties agree to submit the issues or unit definition to
      arbitration as set forth in paragraph 3, below, using the aforesaid statutory
      requirements and decision as the governing principles. At the request of the
      Union, the Company will discuss with the Union neutrality as to Union
      representation of employees who are not defined above as “non-
      management”.

      18.     Paragraphs 3(c)(1) and (2) of the Memorandum of Agreement provide

as follows:

       (c). (1). The Union and the Company shall meet within a reasonable period,
      but not to exceed ninety (90) days, after the effective date hereof for the
      purpose of defining appropriate bargaining units for all presently existing
      potential bargaining units. During this process, the Company will share job
      titles, job functions, work locations, and management structure with the
      Union representatives in order to facilitate agreements on the appropriate
      bargaining units. In the event that the parties are unable to agree, after
      negotiating in good faith for a reasonable time, upon the description of an
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      appropriate unit for bargaining, the issue of the description of such unit shall
      be submitted to arbitration administered by, and in accordance with, the
      rules of the American Arbitration Association (AAA). The Arbitrator shall
      be confined solely to the determination of the appropriate unit for bargaining
      and shall be guided in such deliberations by the statutory requirements of the
      National Labor Relations Act. The parties agree that the decision of the
      Arbitrator shall be final and binding. The Company and the Union agree that
      the permanent Arbitrator to hear disputes with respect to this sub-paragraph
      shall be Richard Bloch. If the permanent Arbitrator cannot serve, the parties
      shall select an Arbitrator from a list or lists of prospective Arbitrators
      provided by the AAA.

       (2). If either the Company or the Union believes that the bargaining unit as
      agreed or determined in (c). (1). above, is no longer appropriate due to
      organizational changes, then the parties shall meet and confer in good faith
      for the purpose of redefining the appropriate unit. In the event that the
      parties are unable to agree, after negotiating in good faith for a reasonable
      time, upon the re-definition of an appropriate unit, the issue of the
      description of such unit shall be submitted to arbitration as provided in (c).
      (1).

      19.      On March 6, 2019, the Union demanded arbitration of the dispute

before Arbitrator Bloch.

      20.      On March 8, 2019, AT&T on behalf of itself and its operating

subsidiaries, notified Arbitrator Bloch that it refused to arbitrate, claiming that “the

current dispute regarding the meaning and application of the Agreement is

excluded from arbitration under the Agreement.”

      21.      On April 12, 2019, the Union reiterated its demand for arbitration of

the dispute.

      22.      On April 15, 2019, AT&T on behalf of itself and its operating
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subsidiaries, again notified Arbitrator Bloch that it refused to arbitrate.

      23.       On April 16, 2019, Arbitrator Bloch cancelled any proffered dates and

awaited further notice should the parties jointly determine to proceed.

                        CLAIM TO COMPEL ARBITRATION

      24.       The allegations of paragraphs 1-23 are incorporated as if fully set

forth herein.

      25.       AT&T has breached its agreement to arbitrate disputes concerning the

determination and/or redefinition of bargaining units under Paragraphs 2(c) and

3(c)(1)-(2) of the Memorandum of Agreement.

      26.        AT&T agreed to incorporate the Rules of the American Arbitration

Association (AAA) in Paragraph 3(c). Rule 3 of the American Arbitration

Association’s Labor Arbitration Rules provides:

             3.a. The arbitrator shall have the power to rule on his or her own
  jurisdiction, including any objections with respect to the existence, scope, or
  validity of the arbitration agreement.

             b.      The arbitrator shall have the power to determine the existence
  or validity of a contract of which an arbitration clause forms a part. Such an
  arbitration clause shall be treated as an agreement independent of the other terms
  of the contract. A decision by the arbitrator that the contract is null and void
  shall not for that reason alone render invalid the arbitration clause.


      27.       By agreeing to incorporate the AAA Rules, AT&T clearly and

unmistakably agreed to submit to the Arbitrator’s decision over the scope of his
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jurisdiction under Paragraph 3 of the Memorandum of Understanding.

      28.     The conditions precedent to arbitration have been satisfied and

AT&T has no valid reason not to arbitrate this dispute.

      29.    Pursuant to Section 301 of the LMRA, 29 U.S.C. §185 and Section 4

of the Federal Arbitration Act, 9 U.S.C. § 4, this Court has authority to compel

AT&T to arbitrate its dispute with CWA over the determination of bargaining units

of the Agreement.

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                            PRAYER FOR RELIEF

      The Union respectfully requests that this Court enter an order:

      (A)   To compel AT&T to arbitrate the dispute described in the Union’s

March 6 and April 12, 2019 demands for arbitration to Arbitrator Bloch;

      (B)   Order reimbursement of the Union’s costs and attorneys’ fees; and

      (D)   Order such other relief as the Court deems appropriate.

                               Respectfully submitted,

                              /s Michael T. Anderson

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